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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE
WESTERN DISTRICT OF TENNESSEE

Case # § d/`/Zy&j/

 

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